                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:04cr223


UNITED STATES OF AMERICA                        )
                                         )
                  vs.                    )
                                         )                                     ORDER
                                         )
CHERYL TURNER                            )
________________________________________ )


         THIS MATTER is before the Court upon motion of the defendant for review of

detention. (Doc. No. 151). For the reasons stated below, the Court DENIES the motion.

         The defendant pled guilty to Counts One and Three of the Second Superseding Indictment

on September 7, 2005, charging violations of 21 U.S.C. §§ 846 and 943. (Doc. No. 110: Plea

Agreement; Doc. No. 121: Acceptance and Entry of Guilty Plea). Pursuant to § 3145(b), the

defendant seeks review of the magistrate judge's detention order entered April 22, 2005 (Doc. No.

70).

         Upon review of the record, even in a light most favorable to the defendant, the Court finds

the circumstances alleged by the defendant are insufficient for this Court to alter the Order of

Detention, particularly in light of the magistrate judge's finding that the pretrial services report

established the defendant is a career criminal (Doc. No. 70). Additionally, the defendant has not

proved that she meets the conditions for release pending sentencing detailed in § 3143(a)(2).

         IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

         The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals service, and the U.S.




       Case 3:04-cr-00223-RJC-DCK           Document 152         Filed 12/01/05      Page 1 of 3
Probation office.




                                      2


    Case 3:04-cr-00223-RJC-DCK   Document 152   Filed 12/01/05   Page 2 of 3
                       Signed: December 1, 2005




                                  3


Case 3:04-cr-00223-RJC-DCK   Document 152    Filed 12/01/05   Page 3 of 3
